Case 1:21-cv-11051-ADB Document 1-3 Filed 06/25/21 Page 1,of 5

Howard Ei Howard

law for business:

 

 

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May 27, 2021

Via UPS Next Day Air & Electronic Mail

Christian P. Bodner
Bodner Law Group, PLLC
450 Lexington Avenue

4" Floor

New York, New York 10017
cbodner@bodnerip.com

RE: BREACH OF INTELLECTUAL PROPERTY RIGHTS BY URBX, INC

Dear Mr. Bodner,

We have been retained by Attabotics, Inc. (Attabotics) to respond to your April 19, 2021
response. Firstly, as you are likely aware, Attabotics has numerous patents and the Patent Office
is continuing to issue patents, so we are not attempting to detail each and every instance of
infringement by URBX and Attabotics is not obligated to do so. Second, Attabotics continues to
monitor the marketplace for potential violations of its intellectual property and any such continued
infringement will be considered willful.

As we understand URBX’s current product offering, URBX has a dual robot system, one
referred to as a tower bot and another referred to as a grid bot, shown below with the tower bot
conveying a storage unit onto the grid bot.

 

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Case 1:21-cv-11051-ADB Document 1-3 Filed 06/25/21 Page 2.of 5

Mr. Christian Bodner
May 27, 2021
Page 2 of 5

The tower bot is deployed within a gridded storage structure that has at least one stack of
storage cells. The storage cell has four storage locations situated on four different sides of an
upright central shaft for storing storage units in a manner accessible from the upright central shaft
by the tower bot. One example from URBX’s website is shown below which shows the tower bots
positioned atop the upright central shafts and being lowered down into the central shaft.

   

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The tower bot has two extendable arms that are selectively extendable to a deployed
position reaching outwardly beyond a perimeter of the tower bot. The extendable arms are
positioned on an underside of the tower bot and, are shown below engaging a storage unit.

 

The extendable arms deploy beyond the perimter and into the storage locations to retrieve
and deposit the storage unit, as shown below in the deployed state. In the deployed state, the
vehicle remains in the upright central shaft.

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Case 1:21-cv-11051-ADB Document 1-3. Filed.06/25/21 Page 3 of 5

Mr. Christian Bodner
May 27, 2021
Page 3 of 5

 

The extendable arms are mounted to the tower bot by a rotateable turret such that the
extendable arms extend in four different working positions to access the four different sides of the
upright central shaft. In the first image below, the rotatable turret is shown facing to the right. In
the below middle image, the rotatable turret is rotating counter-clockwise, and the rotatable turret
stops after completing the rotation, shown below at the right.

 

The above is one illustrative example of URBX’s tower bot that would infringe at least
claim 12 of United States Patent No. 10,604,343.

Additionally, Attabotics’ United States Patent No. 11,008,166 just issed on May 18, 2021.
From a review URBX’s publically available informaiton, it appears that the claims of the ’166
Patent may be be infringed. As already discussed above, URBX has a gridded three-dimensional
strucutre that includes a two-dimensional track layout that the grid bots convey storage units to
working stations that are alongside the gridded three-dimensional strucutre and outisde the
dimensional area, as shown below.

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Case 1:21-cv-11051-ADB Document 1-3 Filed 06/25/21 Page 4 of5

Mr. Christian Bodner
May 27, 2021
Page 4 of 5

 

As can be seen above, the grid bots travel along an extension between the working station
and the lower track layout, thus infringing claim 1. Claims 8 and 9 may also be infringed based
upon the public infomration reviewed to date, since it appears that URBX is offering a sequenced
delivery which would infringe these claims. Specifically, the URBX _ simulation
https://youtu.be/H5gB6eFHqbo shows ordering of packages in sequences that are believed to be
covered by these claims.

The above examples constitute infringement by URBX. Please be advised that Attabotics
considers the infringing acts of others to be a very serious matter and Attabotics is committed to
protecting its intellectual property rights. Since limited information is publicly available about
URBX’s products and technology, Attabotics reserves its right to identify additional patents that
might overlap if, and when, information about URBX products and technology becomes available.
URBX is not authorized to utilize any of Attabotics’s extensive intellectual property portfolio
including any issued patents and pending patent applications in prosecution in the United States
and internationally.

If you wish to resolve this matter without lengthy and costly court proceedings, URBX
must immediately:

(A) Cease and desist all infringing activities, including the manufacture, import, export,
use, sale, and/or offer for sale of the products identified above, and any other
products covered by our clients’ patents.

(B) Provide us with prompt written assurance within ten (10) days that URBX will cease
and desist from further infringement of our clients’ intellectual property rights.

(C) Provide us with the identity of any and all individuals or organizations with whom
URBX is working to manufacture, advertise, and sell the above referenced products.

(D) Preserve all evidence of infringement, including: documents, communications,
product and design specifications, advertising materials, contracts, invoices, and/or

prototypes.

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Case 1:21-cv-11051-ADB Document1-3 Filed 06/25/21. Page 5of5

Mr. Christian Bodner
May 27, 2021
Page 5 of 5

(E) Provide us with an accounting of all infringing products sold or offered for sale, along
with price and date for at least the products identified above and further including
any other products reading on the claims of the provided patent.

Please be advised that Attabotics is determined to pursue this action and all available legal
remedies, including monetary damages, injunctive relief, court costs and attorney fees. We look
forward to hearing from you to reach a prompt resolution of this matter.

If you or URBX have any questions, please contact us directly.
Very truly yours,
HOW OW. ATTORNEYS PLLC

David C. Van Dyke

Encl.
- US. Patent No. 10,604,343
- US. Patent No. 11,008,166

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